                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 1:13-cr-39
                                                        )
 v.                                                     )
                                                        )       MATTICE / LEE
 JENNIFER ALDER                                         )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the seven-count

 Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to manufacture and distribute a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

 §§ 846 and 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser included offense of the charge

 in Count One of the Indictment, that is of conspiracy to manufacture and distribute a mixture and

 substance containing a detectable amount of methamphetamine, a Schedule II controlled substance,

 in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (4) defer a decision on whether to accept the plea

 agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in this

 matter [Doc. 121]. Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

 [Doc. 121] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

                is GRANTED;




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       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture and distribute a mixture and substance

             containing a detectable amount of methamphetamine, a Schedule II controlled

             substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C).

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, January 20, 2014 at 9:00 a.m. [EASTERN]

             before the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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